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          In the United States District Court for the
               Middle District of Pennsylvania
PACE-O-MATIC, INC.                   )
                                     )
                       Plaintiff,    ) [ELECTRONICALLY FILED]
                                     )
                vs.                  ) Docket No. 20-292
                                     )
ECKERT, SEAMANS, CHERIN              ) JUDGE WILSON
& MELLOT, LLC                        )
                                     )
                       Defendant.    )


                 MOTION TO QUASH SUBPOENA


     Greenwood Gaming & Entertainment, d/b/a Parx Casino (“Parx”),

files its motion to quash the subpoena duces tecum (“Parx Subpoena”)

issued by Pace-O-Matic, Inc. (“POM”) in the above matter.

     1.    POM initiated the above matter by filing a complaint against

Eckert Seamans Cherin & Mellot, LLC (“Eckert”).

     2.    The complaint alleges that Eckert breached a fiduciary duty

to POM.

     3.    POM served discovery requests on Eckert calling for, among

other things, confidential and privileged communications between Parx
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and Eckert and the attorney work-product of lawyers and/or law firms

representing Parx.

      4.      Eckert asserted objections to the requests calling for

confidential communications, privileged communications, and attorney

work product.

      5.      POM then issued the Parx Subpoena on June 4, 2020, that

Parx received on June 9, 2020, calling for any “documents” (as that term

is broadly defined by the subpoena) regarding (a) actual or potential

conflicts between POM and Eckert; (b) requests by Eckert that Parx

consent to Eckert’s representation of POM; (c) Eckert’s decision to

withdraw from its representation of POM; and (d) the above-captioned

litigation.

      6.      On the same day, POM served an additional subpoena on

another of Parx’s law firms (Hawke McKeon & Sniscak LLP) and lawyers

(Kevin McKeon, Esq.) calling for documents relating to their

representation of Parx and various state court proceedings in which Parx

is participating.




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     7.    Parx, Eckert, and Hawke McKeon raised objections to the

subpoenas based on confidentiality, attorney-client privilege, and the

immunity from discovery under the work-product doctrine.

     8.    The Court held a status conference and issued an order calling

for the parties to file motions and supporting briefs, together with

appropriate privilege logs, on July 20, 2020.

     9.    As described in more detail in the supporting brief supporting

filed contemporaneously with this motion, the Court should quash the

Parx Subpoena because (a) Parx does not have documents in its

possession responsive to three out of four of the requests in the Parx

Subpoena; and (b) the documents POM requested from Eckert and

subpoenaed from Parx (regarding this litigation) and Hawke are

confidential and privileged and/or subject to the work-product doctrine.

     10.   In addition, Parx agrees with Eckert that all documents

requested or subpoenaed are irrelevant to the claims or defenses in the

case and joins the briefs of Eckert and Hawke regarding relevancy and

privileged nature of documents that POM requested and/or subpoenaed

that implicate Parx’s privileged information or the work-product of Parx’s

lawyers or law firms of which Parx as their client is a beneficiary.



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     11.   Parx’s supporting brief contains additional points of law and

authorities that Parx incorporates by reference.

     WHEREFORE, the Court should grant this motion and quash the

Parx Subpoena. A proposed form of order is attached.

                                     Respectfully submitted,

                                     GA BIBIKOS LLC

                                     /s George A. Bibikos
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    CERTIFICATE OF NON-CONCURRENCE AND SERVICE

     I hereby certify that POM does not concur in this motion or the

relief it requests and that I filed and served the foregoing electronically.



                                    /s George A. Bibikos
                                    George A. Bibikos
